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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 MALIBU MEDIA, LLC,                        )
                                           )
       Plaintiff-Judgment Debtor/          )
 Citation Respondent,                      )
                                           )
                    v.                     )
                                           )
 WILLIAM MULLINS,                          )    No. 18 C 6447
                                           )
        Defendant-Judgment Creditor,       )    Judge Thomas M. Durkin
                  and                      )
                                           )
 COLETTE PELISSIER,                        )
                                           )
       Third-party representative of       )
 the corporate citation respondent.        )

                              TURNOVER ORDER

      This matter is before the court on William Mullins’ motion for a turnover order.

(Dkt 147), as amended. Dkt 149. The court previously issued an asset restraining

order (Dkt. 117), and a turnover order relating to assets found in the possession of

Epoch.com, LLC. Dkt 133. Epoch is restraining X-Art.com Proceeds to secure the

payment of the original judgment of $48,656.73 (Dkt. 104) and the additional

judgment of $59,614.52. Dkt. 145. The combined judgment amount is $108,271.25.

Epoch has complied with the court’s October 12, 2021, turnover order (Dkt 133), and

tendered $35,194.40 (for receipts through October 7, 2021) towards the satisfaction

of the judgment.   Epoch reports to Mullins that as of December 2, 2021, it is

restraining an additional $32,094.82, which would bring Mullins overall recovery to
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$67,289.22. Mullins requests, upon notice and without opposition, that Epoch be

ordered to turn over $16,690.33 funds to satisfy the original but leave the remainder

of the funds for future application to the amended judgment.           Mullins further

requests that the ceiling on recoveries be adjusted, and accordingly

      IT IS HEREBY ORDERED that the judgment creditor’s motion for a

turnover order is GRANTED and specifically ORDERED that:

      1.     Epoch shall issue payment of $16,690.33 to: “The Peacock Law Group

Client Trust Fund Account” and tender such payment in the manner set forth in

paragraph I of the court’s Asset Restraining Order.

      2.     As provided in the law and as stated in the asset restraining order (Dkt

117), the injunctions of the court’s Asset Restraining Order remain in effect; those

injunctions are only modified as specifically provided by the October 12, 2021,

turnover order (Dkt. 133), and otherwise those injunctions remain in full force until

vacated.

      3.     The Asset Restraining Order requires all Enjoined Parties, including

Epoch, “to preserve X-art.com Proceeds up to twice the amount of the unpaid

judgment.” Dkt. 117 at ¶ A. Once Epoch tenders the $16,690.33 payment, the twice-

the-judgment-amount “ceiling” on restraint is restated to be $119,229.04 ($59,614.52

doubled), beginning with funds Epoch restrains on December 3, 2021, and thereafter.

                                       ENTERED:



Date: December 15, 2021                       JUDGE THOMAS M. DURKIN



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